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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

 

LAKE CHARLES DIVISION
DENISE MONCEAUX : CIVIL ACTION NO.
VERSUS : JUDGE
THE KROGER COMPANY : MAGISTRATE JUDGE
NOTICE OF REMOVAL

TO THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
LOUISIANA:

The Notice of defendant, THE KROGER COMPANY, for removal of this action
from the 14th Judicial District Court sitting in and for the Parish of Calcasieu, State of Louisiana,
to the United States District Court for the Western District of Louisiana, Lake Charles Division,
respectfully avers that:

1.

On or about May 20, 2014, Denise Monceaux, filed an action in the 14th Judicial
District for the Parish of Calcasieu, State of Louisiana, styled “Denise Monceaux versus The
Kroger Company.”, docket number 2014-2015-E ("the State Court Action").

2.
The Kroger Company was served through its agent for service of process on

June 16, 2014.
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3.
The following is a list of the parties involved in the case with a listing of their attorneys:

THE KROGER COMPANY
represented by:

CHRISTOPHER P. IEYOUB #16978
WESLEY A. ROMERO #33344

Post Office Drawer 1705

Lake Charles, LA 70602

(337) 436-0522 PHONE

(337) 436-9637 FAX

DENISE MONCEAUX

represented by:

BLAINE A. DOUCET #20788

130 Kirby Street

Lake Charles, La. 70601

(337) 433-0100 Telephone

(337) 491-6888 Facsimile

4.

Pursuant to 28 U.S.C. §1446(b)(2)(C), this Notice of Removal, filed within 30
days after receipt by the defendant of responses to written discovery, i.e., other paper, is timely.
Pursuant to 28 U.S.C. § 1441(b) and 28 U.S.C. § 1332(a)(1), there is complete diversity of
citizenship between the properly joined parties, and the defendant is not domiciled in Louisiana.

5.

Defendant avers that the damages sought exceed the amount in controversy
requirement of 28 U.S.C. §1332. On or about August 1, 2014, plaintiff responded to defendants
written discovery, admitting in her Answer to Request for Admission No. 2 that she is seeking
damages in excess of $75,000. Exhibit A. Defendant further avers that plaintiff's response of

August 1, 2014 was the first notice it received that plaintiff was seeking damages in excess of

$75,000.
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6.
According to the Petition for Damages, plaintiff, DENISE MONCEAUX, is
domiciled in and resides in Calcasieu Parish, Louisiana.
7.
Defendant, THE KROGER COMPANY is an Ohio corporation with its
principal place of business in Cincinnati, Ohio.
Written notice of the filing of this Notice of Removal and of the Removal of the
above action is being delivered to plaintiff through her counsel of record. A copy of this Notice
of Removal will be filed promptly with the Clerk of the 14th Judicial District Court for the

Parish of Calcasieu, State of Louisiana.

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WHEREFORE, premises considered, defendant, THE KROGER COMPANY,
prays that the above action now pending in the 14TH Judicial District Court in and for the Parish
of Caleasieu, State of Louisiana, be removed therefrom to this Court and that the State Court action
shall proceed no further therein.

Lake Charles, Louisiana, this 14" day of August, 2014.

Respectfully submitted,

PLAUCHE, SMITH & NIESET
(A Professional Law Corporation)

BY:  /s/ Christopher Jeyoub
CHRISTOPHER P. IEYOUB #16978
WESLEY A. ROMERO #33344
P. O. Drawer 1705
Lake Charles, LA 70602
(318) 436-0522
Attorneys for defendant,

THE KROGER COMPANY
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CERTIFICATE OF SERVICE
I] HEREBY CERTIFY that I have mailed a copy of the above and foregoing Notice
of Removal via United States mail, postage prepaid and properly addressed to:

DENISE MONCEAUX
Through her attorney of record
Blaine A. Doucet

130 W. Kirby Street

Lake Charles, LA 70601

(337) 433-0100 - Telephone
(337) 491-6888 - Facsimile

Lake Charles, Louisiana, this 14" day of August, 2014.

fs/ Christopher leyoub
CHRISTOPHER P. IEYOUB
